Case 24-05015-AEC Doc33_ Filed 08/26/24 Entered 08/26/24 16:37:22 Desc Main
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UNITED STATES BANKRUPTCY COURT ~ AUG 26 2024

MIDDLE DISTRICT OF GEORGIA Mae Di
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IN RE: Bankruptcy Case No. 22-50035-AEC
TERI GALARDI
DEBTOR(S) Adv. Proceeding No. 24-AP-5015-AEC
CHRISTOPHER KOSACHUK

ALL DOCUMENTS REGARDING THIS MATTER
MUST BE IDENTIFIED BY BOTH ADVERSARY AND
BANKRUPTCY CASE NUMBERS

PLAINTIFF

MICHAEL "MUTEPE" AKEMON, ESQ,
ASTRID E. GABBE, ESQ. ET. AL.

DEFENDANT

CERTIFICATE OF SERVICE OF
SUMMONS IN A BANKRUPTCY CASE

I, Carol Kosachuk , certify that I am , and at all times during the service of process was, not less than 18 years of age
and not a party to the matter concerning which service of process was made. | further certify that the service of this summons
and a copy of the complaint was made on [date] July 31,2024 by:

LV oat Service: Regular, first class U.S. Mail, postage fully pre-paid, addressed to: The Law Office of Astrid E. Gabbe
6531 Grant Court, Hollywood, FL 33024 & via certified mail returh feceipt

requested, see attached for tracking numbers, enyelope covers and receipt
[ let’ al Service: By leaving the process ait defendant or with an officer or agent of defendant at:

[__Jresidence Service: By leaving the process with the following adult at:
[ Jpubtication: The defendant was served as follows: [Describe briefly]

[__|state Law: The defendant was served pursuant to the laws of the State of as follows: [Describe briefly]

Under penalty of perjury, I declare that the foregoing is true and correct.
) ; ) /|

August 3, 2024 { bot _f }

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Date ——~‘Signature

Print name, business address, city, state and zip code:

Carol Kosachuk
__854PheasantRunRd

West Chester, PA 19382-8144

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FAQs >

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Latest Update

Your item was delivered in or at the mailbox at 3:26 pm on August 5, 2024 in HOLLYWOOD, FL 33024.

Get More Out of USPS Tracking:
USPS Tracking Plus®

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Delivered, in/At Mailbox

HOLLYWOOD, FL 33024
August 5, 2024, 3:26 pm

See All Tracking History

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FAQs >

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Latest Update

We attempted to deliver your item at 3:37 pm on August 3, 2024 in HOLLYWOOD, FL 33024 and a notice
was left because an authorized recipient was not available. You may arrange redelivery by using the
Schedule a Redelivery feature on this page or may pick up the item at the Post Office indicated on the
notice beginning August 5, 2024. If this item is unclaimed by August 18, 2024 then it will be returned to

sender.

Get More Out of USPS Tracking:
USPS Tracking Plus®

Delivery Attempt: Action Needed
Notice Left (No Authorized Recipient Available)

HOLLYWOOD, FL 33024
August 3, 2024, 3:37 pm

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Out for Delivery

HOLLYWOOD, FL. 33024
August 3, 2024, 8:27 am

See All Tracking History

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Text & Email Updates

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Track Another Package

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Need More Help?

Contact USPS Tracking support for further assistance.

FAQs

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